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SEROCT|N RESEARCH & TECHNOLOG|ES, lNC.

 

iN THE UNiTED STATES D|STR|CT COURT
FOR THE D|STR|CT OF UTAH, CENTRAL D|ViSlON

 

SEROCT|N RESEARCH &
TECHNOLOG|ES, lNC., a Nevada
Corporation,

Plaintiff,

Civii Actlon No. 2:07-cv-582

Judge Tena Campbe|l
v.

UNlGEN PHARl\/lACEUTlCALS, lNC.,
a De|aware Corporatlon, UNlVERA,
lNC., a Delaware Corporation and
DOEs 1-100

i\/iagistrate Judge Brooke C. Welis
AMENDED COMPLA|NT

Defendants.

\/V\/va\/VVVVVVV

(JURY DEl\/|ANDED)

 

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Plaintiff Seroctin Research & Technologies, lnc. (“SRT”) complains
against Defendants Unigen Pharmaceuticals, (“Unigen”), Univera, inc.

(“Univera”), and Does 1-100, (co|lectiveiy “Defendants”) as follows:

JUR|SDICT|ON AND VENUE

1. SRT is a Nevada corporation having a principal place of business
at 471 East i\/lountainvi||e Drive, Alpine, Utah 84004, and does business in this
judicial district.

2. Upon information and beiief, Unigen is a Deiaware corporation and
has its principal place of business at 2660 Willamette Dr. NE, Lacey, Washington
98516.

3. Upon information and belief, Univera is a Deiaware corporation
and has its principal place of business at 2660 Willamette Dr. NE, Lacey,
Washington 98516.

4. SRT is currently unaware of the true names and capacities of the
defendants sued herein as Does 1-100, inciusive, and therefore sues said
defendants by said fictitious names. SRT is informed and believes that such
fictitious|y named defendants have acted Wrongly and caused damage to SRT by
selling or offering for sale the Seroctin Product in violation of SRT’s patent and
trademark. These Doe Defendants inciude, but are not limited to: (1) an entity or
person is a seller on EBay going by the user name naturalpachhealth; (2) a
person or entity using the domain name Www.feelyoungerlonger.net; (3) a person
or entity using the domain name Www.safeguardmyhealth.com; (4) a person or
entity using the domain name Www.nuhealth4you.net; (5) a person or entity using
the domain name Www.kareenbroff.com; (6) a person or entity using the domain

name www.7th fire.com; (7) a person or entity using the domain name

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www.betterhealthcenter.com; (8) a person or entity using the domain name
http://seroctinplus.tripod.com; (9) a person or entity using the domain name
www.real-dream-catchers.com. SRT intends to move the Court to amend this
Complaint after the true names of fictitiously named defendants are ascertained

5. This is a civil action for patent infringement arising under Title 35
U.S.C. § 271, 281, 283, 284, and 285. Jurisdiction of this court is founded upon
Title 28 U.S.C. §§ 1331, 1338.

6. This is also a civil action for trademark infringement arising under
the Lanham Act, specifically under Title 15 §§ 1114, 1116, 1117, and 1118.
Jurisdiction of this court is founded upon Title 28 U.S.C. §§ 1331, 1338, and Title
15 U.S.C. § 1121.

7. This is also a civil action with complete diversity of citizenship with
the amount in controversy exceeding $75,000. Jurisdiction of this court is
founded upon Title 28 U.S.C. § 1332.

8. Jurisdiction of this court is also founded upon Title 28 U.S.C. §
1367 for SRT’s claims arising under state law.

9. Upon information and beiief, Defendants have transacted business,
contracted to supply goods or services and have otherwise purposely availed
themselves to the privileges and benefits of the laws of the State of Utah and
therefore are subject to the jurisdiction of this Court pursuant to Utah Code Ann.
§ 78-27-24.

10. Venue is proper in this district pursuant to Title 28 U.S.C. §§
1400(b) and 1391.

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BACKGROUND

11. SRT hereby incorporates the allegations of paragraphs 1-10 of this
Complaint as though fully set forth herein.

12. SRT is the owner by assignment of United States Patent No.
6,667,308 (“the ‘308 Patent”), entitled “Compounds for use as Antidepressants,
Aphrodisiacs and Adjunctive Therapies in Humans,” which claims processes for
treating certain conditions using chemical formulations that comprise the Seroctin
product (the “Seroctin Product”). A true and correct copy of the ‘308 Patent is
attached hereto as Exhibit A.

13. Defendants have infringed one or more claims of SRT’s ‘308
Patent.

14. SRT is the owner of the registered mark Seroctin®. A true and
correct copy of a trademark registration from the Patent and Trademark Office
records showing SRT as the owner of the mark Seroctin® is attached hereto as
Exhibit B.

15. Defendants have infringed SRT’s trademark Seroctin®.

16. On l\/|arch 1, 2005, SRT and Unigen entered into License
Agreement and Exclusive Supp|y Agreement (the “License Agreement”). A true
and correct copy of the License Agreement is attached hereto as Exhibit C.

17. On August 15, 2005, SRT and Unigen amended the License
Agreement by entering into an “Addendum |i.” Addendum il relates back to the
date of the License Agreement and specifically provides that unless specifically
superseded by Addendum ll, the terms of the License Agreement remain in
effect and control. A true and correct copy of the Addendum ii is attached hereto

as Exhibit D.

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18. On August 16, 2005, SRT and Unigen amended the License
Agreement and Addendum ll by entering into an “Addendum i.” Addendum l
relates back to the date of the License Agreement and specifically provides that
unless specifically superseded by Addendum i, the terms of the License
Agreement remain in effect and control. A true and correct copy of the
Addendum l is attached hereto as Exhibit E.

19. The License Agreement along with Addendum ll and Addendum l
(“co|lectiveiy the “Contract”) allows Unigen, under certain conditions to sell a
nutritional supplement called Seroctin® and SRT’s licensed intellectual property.

20. The Contract imposes obligations on Unigen to aggressively market
Seroctin® and to take actions to protect SRT’s trademark and patent rights in
Seroctin. See Exhibit C, §§ 3, 4, 8.1.

21. Unigen is required to pay royalties to SRT for money received from
the sales directly or indirectly of Seroctin®. See Exhibits C, D, §§ 1.3, 1.4, 6.2.

22. Univera is an “Affiliate” of Unigen pursuant to § 1.15 of the License
Agreement. in addition, or in the alternative, Univera should be deemed an
“Affiliate” of Unigen - or both companies should be deemed the same entity -
because both companies are alter egos of a multi-bi|lionaire Korean
businessman named Biil Lee.

23. Upon information and belief, certain Doe Defendants are Affiiiates
of Unigen. See Exhibit C, § 1.15.

24. Unigen and/or Univera is/are required to pay royalties to SRT for
money received from sales either directly or indirectly of the Seroctin Product, by

Univera as an “Affiliate” of Unigen, including any product sold directly or indirectly

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by Univera that contains Seroctin, Serinex or i\/laizinoi such as Ageless Xtra,
Xperia or Ageless Vitality. See Exhibits C, D, § 6.2.

25. Unigen and/or Univera is/are required to pay royalties to SRT. for
money received from sales of the Seroctin Product by virtue of the license
conferred upon Unigen to Univera pursuant to Section 2.4 of the License
Agreement, including any product sold directly or indirectly by Univera that
contains Seroctin, Serinex or l\/laizinol such as Ageless Xtra, Xperia or Ageless
Vitality. See Exhibit C, § 2.4.

26. Unigen and/or Univera is/are required to pay royalties to SRT for
money received from sales of the Seroctin Product pursuant to Section 23.5 of
the License Agreement because Univera is in privity with Unigen and/or has
notice of the License Agreement,including any product sold directly or indirectly
by Univera that contains Seroctin, Serinex or i\/iaizinol such as Ageless Xtra,
Xperia or Ageless Vitality. See Exhibit C, § 23.5.

27. Unigen is required to pay royalties to SRT for money received from
sales either directly or indirectly of the Seroctin Product by certain Doe
Defendants as “Affiliates” of Unigen, including any product sold directly or
indirectly by Univera that contains Seroctin, Serinex or i\/iaizinol such as Ageless
Xtra, Xperia or Ageless Vitality. See Exhibits C, D, § 6.2.

28. Unigen and Univera have materially breached the Contract by,
among other things, failing to pay royalties and adequately market the Seroctin
Product including any product sold directly or indirectly by Univera that contains
Seroctin, Serinex or l\/iaizinoi such as Ageless Xtra, Xperia or Ageless Vitality

and promote the Seroctin® mark.

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29. Because Unigen and Univera have materially breached the contract
neither they nor their Affiliates are authorized to sell or offer to sell the Seroctin
Product (inciuding products containing the Seroctin Product) or use the

Seroctin® mark, or any confusingly similar mark, in commerce

FlRST CLA|M FOR REL|EF--PATENT |NFR|NGEMENT,
TlTLE 35 U.S.C. § 271

(Against Ali Defendants)

30. SRT hereby incorporates the allegations of paragraphs 1-29 of this
Complaint as though fully set forth herein.

31. The ‘308 Patent is directed to human nutritional supplementation
for improving performance in certain areas.

32. The ‘308 Patent was duly and validly issued by the United States
Patent and Trademark Office after having been examined according to iaw.

33. SRT is the owner by assignment of the ‘308 Patent.

34. The Seroctin Product is SRT’s product that embodies the ‘308
Patent.

35. Defendants have sold and/or offered to sell products falling within
the scope of one or more of the claims of the ‘308 Patent in violation of SRT’s
frights, thereby infringing literally or under the doctrine of equivalents the ‘308
Patent. Such infringing products include products being sold by Defendants
using the mark “Seroctin" and/or “Serinex.”

36. Upon information and belief, Defendants’ acts constitute direct
and/or indirect infringement under Title 35 § 271(a), 271(b), and/or 271 (c).

37. Upon information and belief, Defendants have had and continue to

have notice of the existence of the ‘308 Patent and despite such notice continue

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to willfully, wantonly and deliberately engage in acts of infringement as that term
is defined in Title 35 U.S.C. § 271, without regard to the ‘308 Patent, and will
continue to do so unless othen/vise enjoined by this Court.
38. Defendant Unigen has materially breached the Contract,
terminating its rights and the rights of its Affiliates to sell the infringing product.
39. SRT has been and will continue to be damaged by the infringing

conduct of Defendants, in an amount to be established upon proper proof at trial.

SECOND CLA|M FOR REL|EF-LANHAM ACT TRADEMARK
lNFRlNGEMENT, TlTLE 15 U.S.C. § 1114

(Against A|i Defendants)

40. SRT hereby incorporates the allegations of paragraphs 1-39 of this
Complaint as though fully set forth herein.

41. SRT is the owner of the registered mark “Seroctin®.”

42. Upon information and belief, Unigen and certain doe defendants
have used the name “Seroctin" in commerce without license or authorization from
SRT or in a manner inconsistent with such authorization

43. The use of the name “Seroctin" is confusingly similar to SRT’s
registered Seroctin® mark,

44. Defendant Unigen has materially breached the Contracts,
terminating its rights to use the Seroctin® mark, making its use thereof
unauthorized

45. The use of the name “Seroctin" by Defendants in commerce is
likely to cause confusion as to source, origin, or sponsorship of the product.

46. Upon information and belief, Defendants intended to cause

confusion as to source, origin, or sponsorship of the Seroctin Product.

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47. Defendants’ use in commerce of the name “Seroctin" infringes
SRT’s registered trademark “Seroctin" and is in violation of Title 15, U.S.C. §
1114.

48. SRT has been and will continue to be damaged by Defendants’
infringement of SRT’s registered Seroctin® trademark, in an amount to be

established upon proper proof at trial.

TH|RD CLA|M FOR REL|EF_LANHAM ACT FALSE DES|GNAT|ON OF
OR|G|N REVERSE PASS|NG OFF, TlTLE 15 U.S.C. § 1125

(Against Ai| Defendants)

49. SRT hereby incorporates the allegations of paragraphs 1-50 of this
Complaint as though fully set forth herein.

50. The Seroctin Product originated from Plaintiff SRT.

51. Upon information and belief, Defendants have falsely designated
the origin of the Seroctin Product as “Seroctin.”

52. The false designation by Defendants of “Seroctin" is likely to cause
consumer confusion

53. Defendants’ use of the name “Seroctin" is in violation of Title 15
U.S.C. § 1125(a).

54. SRT has been and will continue to be damaged by Defendants’
false designation of origin and reverse passing off, in an amount to be
established upon proper proof at trial.

FOURTH CLA|M FOR REL|EF--STATE UNFAiR COMPET|TiON
(Against Aii Defendants)

55. SRT hereby incorporates the allegations of paragraphs 1-56 of this

Complaint as though fully set forth herein.

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56. Defendants’ conduct is in violation of Utah Code Ann. § 13-5a-101
et seq.

57. Defendants have violated Utah Code Ann. § 13-5a-102(4)(a)(ii)(A)
by infringing SRT’s Seroctin® trademark and/or SRT’s ‘308 Patent.

58. SRT has been injured by Defendants’ infringement of its trademark
and patent

59. SRT is entitled to recover damages, costs and attorneys’ fees, and
punitive damages from Defendants for infringement of SRT’s Seroctin®
trademark and/or ‘308 Patent. See Utah Code Ann. § 13-5a-103.

FlFTH CLA|M FOR REL|EF--BREACH OF CONTRACT
(Against Unigen and Univera)

60. SRT hereby incorporates the allegations of paragraphs 1-61 of this
Complaint as though fully set forth herein.

61. The Contract constitutes a valid and enforceable contract between
SRT and Unigen.

62. SRT has performed its obligations under the Contract.

63. The Contract requires Unigen to make royalty payments to SRT on
all net sales of the Seroctin Product. See Exhibits C, D, §§ 6.2.

64. Univera is an Affiliate of Unigen. See Exhibit C, § 1.15.

65. Univera is a party to the License Agreement under any or all of the
following provisions of the License Agreement: §§ 1.15, 2.4 and 23.5.

66. Upon information and belief, certain Doe Defendants are Affiliates
of Unigen. See Exhibit C, § 1.15.

67. Upon information and belief, Univera and certain Doe Defendants

market a product containing a compound called “Serinex.”

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68. The compounds “Serinex,” “l\/laizinoi,” and “Seroctin" are Seroctin
Products and are included within the scope of the License Agreement. See
Exhibit C, §§ 1.3, 1.4.

69. The Contract requires Unigen and Univera to make royalty
payments to SRT on all net sales of the Seroctin Product sold by Univera,
including any product sold directly or indirectly by Univera that contains Seroctin,
Serinex or i\/laizinol such as Ageless Xtra, Xperia or Ageless Vitality and certain
Doe Defendants who are Affiliates of Unigen using Serinex. See Exhibit C, §§
1.15,1.3,1.4.

70. The Contract requires Unigen to make minimum royalty payments
to SRT of $120,000 by i\/larch 1, 2007, to avoid termination of the agreement
See Exhibits C, D, § 9.3. Addendum il provided that the minimum royalty
payment to SRT would be $60,000 by August 15, 2007, and another minimum
royalty payment of $100,000 by August 15, 2008, See Exhibit D, § 12.
Thereafter, a minimum royalty payment of $180,000 would be due annually on or
before August 15 of each year. Exhibit D, § 12.

71. The contract provides that Unigen agrees to invest in research and
development of the Seroctin Product “anticipated” to exceed $250,000. See
Exhibit C, § 6.1.

72. The Contract provides that Unigen must use “best commercial
efforts” to sell the Seroctin Product, See Exhibit C, § 8.1.

73. Section 3 of the License Agreement requires Unigen to identify
SRT as the owner of the Seroctin® trademark and imposes an obligation, in
conjunction with § 8.1 to market aggressively the Seroctin Product using the

Seroctin® name, identifying SRT as the owner of the mark.

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74. Section 4.2 of the License Agreement requires Unigen to mark the
Seroctin Product with the ‘308 Patent and pending patent applications

75. Unigen and Univera have materially breached the Contract by
failing to make any royalty payments for sales by Unigen and Univera of products
containing the Seroctin Product, using the name “Seroctin”, “Maizinol,” “Serinex,”
Ageless Xtra, Xperia, or Ageless Vitality. See Exhibits C, D, § 6.2.

76. Unigen and Univera have failed to make minimum royalty payments
to avoid termination of exclusivity of the agreements See Exhibits C, D, § 9.3.

77. Upon information and belief, Unigen has materially breached the
Contract by failing to research, develop, and market the licensed product. See
Exhibit C, D, § 9.3.

78. l For example, the Seroctin Product is not even identified on
Unigen’s website as an available product. See Exhibit F.

79. Upon information and belief, Unigen has materially breached the
Contract by failing to mark the Seroctin Product (inciuding the Seroctin Product
marketed as “Serinex” by Univera) with the ‘308 Patent. See Exhibit C, § 2.2.

80. Upon information and belief, Unigen has materially breached the
Contract by failing to identify SRT as the owner of the Seroctin Product and by
failing to utilize the Seroctin® mark and identify SRT as the owner of the mark.
See Exhibit C, § 3.3.

81. Upon information and belief, Unigen has materially breached the
Contract by failing to require its Affiliates to identify SRT as the owner of the
Seroctin Product and by failing to utilize the Seroctin® mark and identify SRT as
the owner of the mark. See Exhibit C, §§ 1.15, 3.3.

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82. if Univera is not deemed an affiliate of, or the same entity as,
Unigen, Unigen has materially breached the Contract by selling no product under
Section 4.4 of the License Agreement.

83. Unigen has materially breached the Contract by developing a
competing product and not fully disclosing all information about that effort, in
contravention of Sections 12 and 14. See Exhibit C, § 12, 14.

84. Univera has materially breached the Contract by publicly
contending that the ‘308 is invalid and unenforceable, in contravention of
Sections 8.1, 9.2 and 16.4 of the License Agreement. See Exhibit C, § 8.1, 9.2,
16.4.

85. SRT has been damaged by Unigen’s and Univera’s material
breaches of the Contract in an amount to be proven at trial.

86. SRT’s damages are directly attributable to Unigen’s and Univera’s
material breaches of the Contract.

87. Unigen and Univera have materially breached the Contract allowing

for the recovery of SRT’s attorneys’ fees, pursuant to the terms of the Contract.

PRAYER FOR RELlEF
WHEREFORE, SRT prays forjudgment against Defendants as follows:
A. For judgment holding Defendants liable for infringement of the ‘308
Patent;
B. For an award of damages adequate to compensate SRT for the
infringement of the ‘308 Patent by Defendants, including treble damages and all

other categories of damages allowed by Title 35 U.S.C. § 284;

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C. For a permanent injunctive relief enjoining Defendants, its officers,
agents, servants, employees and attorneys and all other persons in active
concert or participation with them as follows:

(i) from using, manufacturing, offering to sell or selling any products
falling within the scope of the claims of the ‘308 Patent;

(ii) from importing any product into the United States which falls within
the scope of the ‘308 Patent;

(iii) from actively inducing others to infringe any of the claims of the
‘308 Patent;

(iv) from engaging in acts constituting contributory infringement of any
of the claims of the ‘308 Patent;

(v) from all other acts of infringement of any of the claims of the ‘308
Patent;

D. For a finding that this is an exceptional case and that SRT be
awarded its attorneys’ fees against Defendant pursuant to Title 35 U.S.C. § 285;

E. For judgment holding Defendants liable for infringement of SRT’s
registered trademark, “Seroctin®” under Title 15 U.S.C. § 1114;

F. For judgment holding Defendants liable for false designation of
origin and reverse passing off under Title 15 U.S.C. § 1125(a);

G. For damages and disgorgement against Defendants’ for
infringement of the Seroctin® mark and false designation of origin under Title 15
U.S.C. § 1117;

H. For a finding that Defendants willfully infringed SRT’s trademark
and falsely designated the origin of the Seroctin Product;

i. For treble damages under Title 15 U.S.C. § 1117;

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J. For a finding that this is an exceptional case under Title 15 U.S.C. §
1117;

K. For an award of attorneys’ fees under Title 15 U.S.C. § 1117;

L. For a permanent injunctive relief enjoining Defendants, its officers,
agents, servants, employees and attorneys and all other persons in active
concert or participation with them as follows from using, the mark “Seroctin" or
confusingly similar marks in commerce without license from SRT under Title 15
U.S.C. § 1116;

M. For a finding that Defendants’ infringement of SRT’s Seroctin®
trademark and/or the ‘308 Patent violates Utah Code Ann. § 13-5a-102;

N. For damages sustained by SRT under Utah Code Ann. § 13-5a-
103(1)(|0) (ii);

O. For an award of attorneys’ fees and costs under Utah Code Ann. §
13-5a-103(1);

P. For an award of punitive damages under Utah Code Ann. § 13-5a-
103(1) (b) (iii);

Q. Forjudgment holding Unigen and Univera liable for material breach
of the Contract;

R. For an award of damages against Unigen and Univera adequate to
compensate SRT for their breach of the Contract;

S. For an award of attorneys’ fees against Unigen and Univera,
pursuant to the terms of the Contract;

T. For an award of SRT’s costs of this action;

U. For such further relief as this Court deems SRT may be entitled to

in law and in equity.

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Respectfuliy submitted this 29th day of January, 2009.

/s/Richard B. l\/leqlev, Jr.

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Counsei for Plaintiff
Seroctin Research & Technoiogies, lnc.

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CERTIF|CAT|ON OF SERV|CE

The undersigned hereby certifies that a copy of the foregoing Amended
Complaint was electronically filed with the Clerk of Court using Ci\/l/ECF system,
which will send notification by electronic mail to the following:

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Counsei for Defendants

on this 29th day of January, 2009.

/s/Richard B. l\/leqley, Jr.

